         Case 2:24-bk-53530          Doc 39 Filed 05/16/25 Entered 05/16/25 19:53:26                      Desc
                                          Hearing/BK Page 1 of 1
Form 30hrgbk
(Rev. 9/24)

                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

In re:                                                       :
            Leo Neal Jr                                      :     Case No. 24−53530
                                                             :     Chapter 13
               Debtor.                                       :     Judge Mina Nami Khorrami
                                                             :
SSN:        xxx−xx−7117                                      :


                                               NOTICE OF HEARING



Notice is hereby given that a hearing will be held at:

ADDRESS:        Courtroom C, U.S. Bankruptcy Court, 170 North High Street, Fifth Floor, Columbus, OH 43215

DATE:           6/10/25

TIME:           09:30 AM


      TO CONSIDER AND ACT ON THE FOLLOWING MATTERS and transact such other business as may
properly come before the Court: [30] Objection to (Claim # 6) by Claimant Logan County Treasurer Filed by Debtor
Leo Neal Jr, [32] Objection to Claim filed by Debtor Leo Neal, [36] Amended Objection to Claim filed by Debtor Leo
Neal.


All parties shall be prepared to present all witnesses and other evidence at the hearing. Any party intending to present
documentary evidence or call witnesses shall, not later than three (3) business days prior to the hearing, file with the
court and exchange with opposing party witness and exhibit lists completed as prescribed by Local Bankruptcy Rule
Form 7016−1, Attachments A and B. Exhibits not timely exchanged may not be admitted. Witnesses not timely
identified may be precluded from testifying at trial.

Each party shall pre−mark all exhibits. The Court will not provide exhibit stickers and, absent unusual
circumstances, the Courtroom Deputy will not mark exhibits during the course of the trial. The trial will not
commence until all exhibits have been suitably labeled and a set of exhibits provided to the Court.

No unauthorized weapons are permitted on the court's premises. Cellular phones and portable electronic
devices are permitted provided that they are not used to take photographs or record any court proceedings
unless otherwise authorized by the court.


Dated: May 16, 2025

                                                                      FOR THE COURT:
                                                                      Richard B. Jones
                                                                      Clerk, U.S. Bankruptcy Court
